         Case 17-82940             Doc 69     Filed 08/30/18 Entered 08/30/18 10:37:10                                   Desc Main
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                                           UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF ILLINOIS
                                                    WESTERN DIVISION

              In re: MURRAY, ROBERT T                                                           § Case No. 17-82940
                     MURRAY, PEGGY L                                                            §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on December 15, 2017. The undersigned trustee was appointed on December 15, 2017.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                14,892.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                  0.00
                                    Administrative expenses                                                 5.43
                                    Bank service fees                                                      94.93
                                    Other payments to creditors                                             0.00
                                    Non-estate funds paid to 3rd Parties                                    0.00
                                    Exemptions paid to the debtor                                           0.00
                                    Other payments to the debtor                                            0.00
                             Leaving a balance on hand of 1                         $                14,791.64
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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                 6. The deadline for filing non-governmental Page
                                                             claims 2inof 11case was 05/09/2018
                                                                       this
       and the deadline for filing governmental claims was 06/13/2018. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $2,239.20. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $2,239.20, for a total compensation of $2,239.20. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $113.49, for total expenses of
               2
       $113.49.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 08/30/2018                    By: /s/JOSEPH D. OLSEN
                                               Trustee, Bar No.:




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 17-82940                                                              Trustee:       (330400)      JOSEPH D. OLSEN
Case Name:        MURRAY, ROBERT T                                                 Filed (f) or Converted (c): 12/15/17 (f)
                  MURRAY, PEGGY L                                                  §341(a) Meeting Date:        01/30/18
Period Ending: 08/30/18                                                            Claims Bar Date:             05/09/18

                              1                                    2                          3                      4              5                   6

                    Asset Description                           Petition/            Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                                 Values            Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                                 and Other Costs)                                         Remaining Assets

 1       319 Sheridan St., Rockford, IL 61103-0000, Winne         50,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 2       1811-8th Ave, Rockford, IL 61104-0000, Winnebago         41,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 3       608 N Day Ave, Rockford, IL 61101-0000, Winnebag         28,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 4       1203 Taylor St, Rockford, IL 61101-0000, Winneba         31,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 5       1012 N Rockton Ave, Rockford, IL 61103-0000, Win         25,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 6       1308 Taylor St, Rockford, IL 61101-0000, Winneba         35,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 7       2111 Andrews St, Rockford, IL 61101-0000, Winneb         24,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 8       3227 Hanover Dr, Rockford, IL 61101-0000, Winneb         34,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 9       3020 Garfield Dr, Rockford, IL 61101-0000, Winne         36,000.00                         0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

10       3661 Grenoble Ct, Rockford, IL 61114-0000, Winne        180,000.00                    23,000.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

11       Cash                                                          100.00                       0.00                                 0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

12       checking: Northwest Bank                                  1,700.00                         0.00                                 0.00                    FA


                                                                                                                              Printed: 08/30/2018 08:20 AM   V.14.14
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 17-82940                                                                    Trustee:        (330400)     JOSEPH D. OLSEN
Case Name:        MURRAY, ROBERT T                                                       Filed (f) or Converted (c): 12/15/17 (f)
                  MURRAY, PEGGY L                                                        §341(a) Meeting Date:        01/30/18
Period Ending: 08/30/18                                                                  Claims Bar Date:             05/09/18

                                1                                        2                          3                      4              5                   6

                    Asset Description                                 Petition/            Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                                       Values            Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                         Remaining Assets

          Orig. Asset Memo: Imported from original petition
         Doc# 1

13       checking: Northwest Bank                                            287.00                         0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

14       checking: Associated Bank (rental income)                       7,000.00                       7,000.00                           7,230.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

15       2 beds, table, 3 dressers, 2 sofas, washer, drye                1,500.00                           0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

16       2 TVs, VCR, DVD player, 3 computers, stereo, wit                    200.00                         0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

17       cell phones, with estimated retail value of $400                    200.00                      200.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

18       hand and power tools, with estimated retail valu                    100.00                      100.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

19       lawnmower, with estimated retail value of $100                       50.00                       50.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

20       Debtors' clothing, with estimated retail value o                    300.00                         0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

21       jewelry, with estimated retail value of $400                        200.00                      200.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

22       exercise equipment, with estimated retail value                     200.00                      200.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

23       3 bicycles, with estimated retail value of $600                     300.00                      300.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition


                                                                                                                                    Printed: 08/30/2018 08:20 AM   V.14.14
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 17-82940                                                                  Trustee:        (330400)     JOSEPH D. OLSEN
Case Name:        MURRAY, ROBERT T                                                     Filed (f) or Converted (c): 12/15/17 (f)
                  MURRAY, PEGGY L                                                      §341(a) Meeting Date:        01/30/18
Period Ending: 08/30/18                                                                Claims Bar Date:             05/09/18

                                1                                       2                         3                      4              5                   6

                    Asset Description                                Petition/           Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled      (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                                      Values           Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                                     and Other Costs)                                         Remaining Assets

         Doc# 1

24       golf clubs, with estimated retail value of $50                     25.00                       25.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

25       cello, with estimated retail value of $100                         50.00                       50.00                                0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

26       Retirement Savings (for social security benefits               2,000.00                          0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

27       Ret. or Pension Acct.: IRA                                   245,000.00                          0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

28       Ret. or Pension Acct.: pension, monthly benefit                     0.00                         0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

29       unpaid rent estimated at $8,000                                Unknown                           0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

30       2008 GMC 17' Box Truck, 195,000 miles, dealer va               6,500.00                      6,500.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

31       2005 Jeep Wrangler, 100,000 miles, dealer value                4,000.00                      4,000.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

32       2007 Chevy Colorado pick-up truck, 120,000 miles               4,000.00                      4,000.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

33       2006 Honda Motorcycle, 6,000 miles, dealer value               3,000.00                          0.00                               0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

34       30' one-bedroom Mobile home, located in Lake Gen              10,000.00                      5,000.00                           5,000.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1


                                                                                                                                  Printed: 08/30/2018 08:20 AM   V.14.14
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                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 17-82940                                                                         Trustee:        (330400)     JOSEPH D. OLSEN
Case Name:         MURRAY, ROBERT T                                                           Filed (f) or Converted (c): 12/15/17 (f)
                   MURRAY, PEGGY L                                                            §341(a) Meeting Date:        01/30/18
Period Ending: 08/30/18                                                                       Claims Bar Date:             05/09/18

                                 1                                         2                             3                       4                    5                   6

                     Asset Description                                 Petition/                Estimated Net Value          Property            Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                   Unscheduled           (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                        Values                Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                            and Other Costs)                                                Remaining Assets

35        desk                                                                 100.00                         100.00                                       0.00                    FA
            Orig. Asset Memo: Imported from original petition
          Doc# 1

36        An agreement you made (such as mortgage or secur                       0.00                            0.00                                      0.00                    FA
          (u)
            This item was imported by BMS, we have no
          knowledge of what it is.

37        2017 Federal income tax refund (u)                                     0.00                        4,000.00                                  2,662.00                    FA

38        2017 State income tax refund (u)                                       0.00                        1,000.00                                      0.00                    FA

39        2718 Ashland Court, Rockford, IL 61101                          40,000.00                              0.00                                      0.00                    FA

 39      Assets       Totals (Excluding unknown values)                 $810,812.00                      $55,725.00                                  $14,892.00                 $0.00



      Major Activities Affecting Case Closing:

                   objection to exemptions; possible sale of real estate and mobile home

      Initial Projected Date Of Final Report (TFR):       December 31, 2018                     Current Projected Date Of Final Report (TFR):       December 31, 2018




                                                                                                                                                Printed: 08/30/2018 08:20 AM   V.14.14
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                                                                                      Form 2                                                                                            Page: 1

                                                        Cash Receipts And Disbursements Record
Case Number:         17-82940                                                                           Trustee:              JOSEPH D. OLSEN (330400)
Case Name:           MURRAY, ROBERT T                                                                   Bank Name:            Rabobank, N.A.
                     MURRAY, PEGGY L                                                                    Account:              ******5766 - Checking Account
Taxpayer ID #:       **-***9491                                                                         Blanket Bond:         $1,500,000.00 (per case limit)
Period Ending: 08/30/18                                                                                 Separate Bond: N/A

   1             2                            3                                           4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                   T-Code              $                   $               Account Balance
02/14/18       {14}        Peggy Murray                         Partial account balance                            1129-000                6,810.00                                    6,810.00
02/28/18                   Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                          10.00             6,800.00
03/16/18       {34}        Robert Murray                        SALES PROCEEDS-PERSONAL PROPERTY                   1129-000                5,000.00                                 11,800.00
03/16/18       {14}        Robert Murray                        bal. in deposit a/c                                1129-000                   420.00                                12,220.00
03/30/18                   Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                          12.63          12,207.37
04/30/18                   Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                          16.97          12,190.40
05/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                          19.28          12,171.12
06/05/18       101         International Surities Ltd           BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                           5.43          12,165.69
                                                                BALANCE AS OF 06/01/2018 FOR CASE
                                                                #17-82940, Bond No. 016018067, Term:
                                                                06/01/2018 to 06/01/2019
06/29/18                   Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                          16.91          12,148.78
07/26/18       {37}        Robert and Peggy Murray              Portion of Income Tax Refund per Court Order       1224-000                2,662.00                                 14,810.78
                                                                (Doc 68) entered 7/16/2018.
07/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                          19.14          14,791.64

                                                                                      ACCOUNT TOTALS                                      14,892.00                 100.36        $14,791.64
                                                                                              Less: Bank Transfers                              0.00                  0.00
                                                                                      Subtotal                                            14,892.00                 100.36
                                                                                              Less: Payments to Debtors                                               0.00
                                                                                      NET Receipts / Disbursements                      $14,892.00                 $100.36

                                  Net Receipts :           14,892.00
                                                                                                                                            Net              Net                    Account
                                    Net Estate :          $14,892.00                  TOTAL - ALL ACCOUNTS                                Receipts      Disbursements               Balances

                                                                                      Checking # ******5766                               14,892.00                 100.36          14,791.64

                                                                                                                                        $14,892.00                 $100.36        $14,791.64




{} Asset reference(s)                                                                                                                              Printed: 08/30/2018 08:20 AM         V.14.14
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                                           Exhibit "C" - Analysis of Claims Register
                                               Case: 17-82940 MURRAY, ROBERT T

  Case Balance:        $14,791.64               Total Proposed Payment:               $14,791.64                   Remaining Balance:               $0.00

                                                                   Amount            Amount               Paid           Claim            Proposed       Remaining
Claim #   Claimant Name                     Type                    Filed            Allowed             to Date        Balance           Payment          Funds

          Attorney Joseph D Olsen         Admin Ch. 7              1,510.50           1,510.50              0.00         1,510.50           1,510.50        13,281.14
          <3110-00 Attorney for Trustee Fees (Trustee Firm)>
          JOSEPH D. OLSEN                 Admin Ch. 7               113.49             113.49               0.00             113.49            113.49       13,167.65
          <2200-00 Trustee Expenses>
          JOSEPH D. OLSEN                 Admin Ch. 7              2,239.20           2,239.20              0.00         2,239.20           2,239.20        10,928.45
          <2100-00 Trustee Compensation>

   2      Blackhawk Bank                  Secured               111,421.03          111,421.03              0.00       111,421.03                 0.00      10,928.45
   3      Ditech Financial LLC fka        Secured                 75,766.33          75,766.33              0.00        75,766.33                 0.00      10,928.45
          Green Tree Servicing LLC

   1      Capital One Bank (USA),         Unsecured               13,294.02          13,294.02              0.00        13,294.02              704.52       10,223.93
          N.A.
   4      Verizon by American             Unsecured                 253.00             253.00               0.00             253.00             13.41       10,210.52
          InfoSource
   5      PYOD, LLC its successors        Unsecured                 492.79             492.79               0.00             492.79             26.12       10,184.40
          and assigns as assignee
   6      UNITED STATES                   Unsecured             192,176.33          192,176.33              0.00       192,176.33         10,184.40              0.00
          DEPARTMENT OF
          EDUCATION


                      Total for Case 17-82940 :                 $397,266.69       $397,266.69              $0.00      $397,266.69         $14,791.64




                                                                         CASE SUMMARY
                                                     Amount             Amount               Paid             Proposed                % paid
                                                      Filed             Allowed             to Date           Payment

          Total Administrative Claims :             $3,863.19           $3,863.19                $0.00         $3,863.19         100.000000%

                Total Secured Claims :         $187,187.36            $187,187.36                $0.00               $0.00            0.000000%

             Total Unsecured Claims :          $206,216.14            $206,216.14                $0.00        $10,928.45              5.299512%
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                                 TRUSTEE'S PROPOSED DISTRIBUTION                                       Exhibit D

            Case No.: 17-82940
            Case Name: MURRAY, ROBERT T
            Trustee Name: JOSEPH D. OLSEN
                                               Balance on hand:                          $          14,791.64
             Claims of secured creditors will be paid as follows:

Claim        Claimant                              Claim Allowed Amount Interim Payments               Proposed
No.                                              Asserted       of Claim          to Date              Payment
   2         Blackhawk Bank                    111,421.03           111,421.03               0.00             0.00
   3         Ditech Financial LLC fka           75,766.33            75,766.33               0.00             0.00
             Green Tree Servicing LLC
                                               Total to be paid to secured creditors:    $               0.00
                                               Remaining balance:                        $          14,791.64

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                              Total Requested Interim Payments       Proposed
                                                                                        to Date      Payment
Trustee, Fees - JOSEPH D. OLSEN                                       2,239.20               0.00       2,239.20
Trustee, Expenses - JOSEPH D. OLSEN                                    113.49                0.00           113.49
Attorney for Trustee, Fees - Attorney Joseph D Olsen                  1,510.50               0.00       1,510.50
                           Total to be paid for chapter 7 administration expenses:       $           3,863.19
                           Remaining balance:                                            $          10,928.45

              Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                              Total Requested Interim Payments       Proposed
                                                                                        to Date      Payment
                                                       None
                           Total to be paid for prior chapter administrative expenses:   $               0.00
                           Remaining balance:                                            $          10,928.45




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $               0.00
                                                 Remaining balance:                         $          10,928.45
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 206,216.14 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 5.3 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            Capital One Bank (USA), N.A.                           13,294.02                 0.00         704.52
  4            Verizon by American InfoSource                            253.00                 0.00          13.41
  5            PYOD, LLC its successors and assigns as                   492.79                 0.00          26.12
               assignee
  6            UNITED STATES DEPARTMENT OF                          192,176.33                  0.00      10,184.40
               EDUCATION
                             Total to be paid for timely general unsecured claims:          $          10,928.45
                             Remaining balance:                                             $               0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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